 Case 2:09-cr-20034-KHV           Document 224         Filed 05/26/11       Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,            )
                                     )
                         Plaintiff,  )
                                     )                    CRIMINAL ACTION
v.                                   )
                                     )                    No. 09-20034-01-KHV
TAURINO CERECERES-MORALES,           )
                                     )
                         Defendant. )
_____________________________________)

                                 MEMORANDUM AND ORDER

       On May 18, 2010, the Court sentenced defendant to 60 months in prison. This matter is

before the Court on defendant’s letter (Doc. #223) filed May 13, 2011, which the Court construes

as a motion for an extension of time to file a Section 2255 motion.

       In his letter, defendant states that he intends to file a Section 2255 motion but that he needs

a 30-day extension until June 18, 2011 to do so.1 The Court has no authority to extend the statutory

deadline in 28 U.S.C. § 2255. See Washington v. United States, 221 F.3d 1354 (Table), 2000 WL

985885, at *1-2 (10th Cir. July 18, 2000); United States v. Leon, 203 F.3d 162, 163-64 (2d Cir.

2000); United States v. Miller, No. 06-cr-20080, 2008 WL 4541418, at *1-2 (C.D. Ill. Oct. 9, 2008).

Congress has expressly limited the time in which a prisoner can bring a Section 2255 motion to one

year after his conviction becomes final, and any extension of this time period contravenes the clear

intent of Congress to accelerate the federal habeas process. Washington, 2000 WL 985885, at *1.


       1
               As best the Court can ascertain, defendant has calculated the one-year deadline under
28 U.S.C. § 2255 from the date on which the Court entered judgment. Under 28 U.S.C. § 2255,
however, the one-year period of limitations ordinarily runs from the date on which the judgment of
conviction becomes final. Here, defendant filed a direct appeal, see Notice Of Appeal (Doc. #181),
which the Tenth Circuit later dismissed. See Order And Judgment (Doc. #209). Defendant’s
conviction was not final until the time expired for filing a petition for a writ of certiorari. See Clay
v. United States, 537 U.S. 522, 525 (2003).
 Case 2:09-cr-20034-KHV          Document 224         Filed 05/26/11     Page 2 of 2




       IT IS THEREFORE ORDERED that defendant’s letter (Doc. #223) filed May 13, 2011,

which the Court construes as a motion for an extension of time to file a Section 2255 motion, be and

hereby is OVERRULED.

       Dated this 26th day of May, 2011 at Kansas City, Kansas.

                                              s/ Kathryn H. Vratil
                                              KATHRYN H. VRATIL
                                              United States District Judge




                                                -2-
